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            PSJ17 Exh 83
                           Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 2 of 63. PageID #: 349051



                                Content provided by:
               AMFE, Clinical, HCS, Legal, Marketing, Market Research,
                 Medical, Public Relations, Regulatory, Sales, Sales
                  Operations, Sales Training, SciCom, and VVWPP




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                                                                                                                        1
CONFIDENTIAL                                                                                               TEV_FE00037945
                 — SWOT       Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 3 of 63. PageID #: 349052




               • 2009 Marketing Strategy
                 — Goals & Objectives
                 — Marketing Strategy Overview
                 — Key Strategic Imperatives with Strategies & Tactics
               • Marketing Expense & Revenue Budgets
                 — 2009 Marketing Budget Expense
                 — 2009 Product Contribution




                                                                                                                          2
CONFIDENTIAL                                                                                                  TEV_FE00037946
               Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 4 of 63. PageID #: 349053




                                  TOR
                            fentanyl buccaltablet g




                                                                                                           3
CONFIDENTIAL                                                                                   TEV_FE00037947
                          - LAOs(25M TRx)show volume growth; branded products drive strong
                                                        Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 5 of 63. PageID #: 349054
                            value growth
                                                         Opioid Market Growth Rate(MAT 6/07 vs. 6108)
                                        30%-
                                                                                            LAO



                                                    E1741111
                                                              DCombo                    SAO


                                                                                                                                        CD Pure
                                                                                                                                        12M SAO
                                                                       I                    I              I
                                       -30%- 0%                      5%                   10%              15%                               20%        30%
                                                                                   Prescription Growth (TRx)
                  Size of bubble = TRx volume                                                                                                      Tit TA
                  Source: I MS NGPS (TRx) and NPS ($)                                                                                              ealcal==1
                  NPS is based upon MAT 607 vs. 6/08




               First year LAO value declined




                                                                                                                                                                           4
CONFIDENTIAL                                                                                                                                                   TEV_FE00037948
                                                 Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 6 of 63. PageID #: 349055
                           25,000


                           20,000


                           15,000
                                                                                                                                                60%

                           10,000
                                                                                                                                                12%
                            5,000

                                                                                                                                                28%

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                                                             ç  1                           e
                                             FENTORA                        •ACTIQ                                  •OTFC
                                                                                                                                          917IRA
                                                                                                                                          I -    Yetft
                 Source: IMS NPA




         12 mos av               6mos avg
         Monthly average 6 mos ending 810                                                                                        6 mos ending 2/08
         Fentora                                 8.027                                                                                           6,944

         Actiq                                   5,704                                                                                           3,756

         OTFC                                    15,205                                                                                          14,278

         Total ROO                 28,936                                                                                        24,977




                                                                                                                                                                      5
CONFIDENTIAL                                                                                                                                              TEV_FE00037949
                   Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 7 of 63. PageID #: 349056




                          Marketing
               Strategy, Challenges & Budget


                                                 TOR-
                                fentanyl buccaltablet g




                                                                                                               6
CONFIDENTIAL                                                                                       TEV_FE00037950
                                        Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 8 of 63. PageID #: 349057



               Limited awareness & acceptance                                                            Greater acceptance within
                   beyond core prescribers                                                                & beyond core targets


               Dosing/titration & administration
                          challenges
                                                                                            >             Proper dosing/titration &
                                                                                                         administration understood

                                                                                                          Appropriate patients have
                 Reimbursement challenges                                                                 access to reimbursement

                                                                                                             Clear & consistent
                  Risk for abuse & diversion                                                              ommunication of FENTORA
                                                                                                                    risks




                                                                                                                                                   7
CONFIDENTIAL                                                                                                                          TEV_FE00037951
                                  Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 9 of 63. PageID #: 349058
                  — DDL/Safety communication impact still not fully realized
                  — Amrix impact on ideal reach & frequency to FENTORA targets
                     • IC Plan: 1H'08 = 60/40 & revised 2H'08 = 80/20
               • Negative outcome from May AC & Sept CRL — no
                 expanded label limits ability to re-grow the brand
               • No Differentiation vs Actiq/OTFC or Onsolis:
                  — 3039 Non-approval letter received in January (no 10min onset
                    data) fuels MHC restrictions/limitations
                  — No high dose submitted, approved or launched




                                                                                                                              8
CONFIDENTIAL                                                                                                      TEV_FE00037952
               Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 10 of 63. PageID #: 349059




                                             TOR-
                            fentanyl buccaltablet g




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CONFIDENTIAL                                                                                    TEV_FE00037953
                          7000                  00%
                                         100%    Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 11 of 63. PageID #: 349060

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                          5000 —
                     Et
                          4000 —
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                                  pleb   t             4tb                                                              el)            q)          pCb

                                                      t#          A5s%                                                ag3

                                                                                                       .NO        C
                                                                                                                  P               Cr        40   go°

                                                        Actual TRxs                                 w Forecast

               Source: IMS NGPS




                                                                                                                                                                    10
CONFIDENTIAL                                                                                                                                             TEV_FE00037954
                                                                                                    Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 12 of 63. PageID #: 349061
                                                                                                                                                                       AUTODATE




                                                          Monthly Shipments
                                     YTD 8/08 shipments are $112.5M (64% to 2008 budget forecast)
                                          We need to avg $15M/mo for the remainder of 2008

                           $25 -

                                     $21.1
                           $20.0 -
                                                                                                 $16.9
                                                                  $14.7                                           $15.0    $15.0     $15.0 $15.0
                           $15.0 -                                                                       $13.5
                                                                          $13.1
                     Cl)
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                                      .010
                                                                                      $11.3
                                                  $10.0                                0100040
                    (79-
                           $10.0 -



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                                         ,1002,




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                                                                                  •

                                     Jan-08 Feb-08        Mar-08 Apr-08 May-08 Jun-08 Jul-08             Aug-08 Sep-08 Oct-08        Nov-08 Dec-08



                                                                                                                                        ENTORA
                                                                                                                                        trt,,,„,11,,c,,vaim
               Source: Internal Shipment Data




                                                                                                                                                                                     11
CONFIDENTIAL                                                                                                                                                       TEV_FE00037955
                      • IC Plan: 1H'08 = 60/40 —> 2H'08 = 80/20
                                     Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 13 of 63. PageID #: 349062


               • Reduction of promotion budget'07 to '08 by 46%($28MM —> $15.1MM)
               • DDL/Safety communication impact still being realized
               • Negative outcome from May AC & Sep CRL — lack of expanded label
                 limits ability to drive growth
               • No differentiation vs. Actiq/OTFC:
                  — Label enhancement to include 10 min onset data not approved (Jan)
                  — No high dose (plan assumption)




                                                                                                                                 12
CONFIDENTIAL                                                                                                          TEV_FE00037956
                                                                Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 14 of 63. PageID #: 349063                     10,000
                           7,000

                           6,000                                                                                                                                   8,000

                           5,000
                                                                                                                                                                   6,000
                      I—   4,000

                           3,000                                                                                                                                   4,000

                           2,000
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                                                                                                                                                        ,'Sr Vi°




                                                                                          TRxs                               PDEs
               Source: IMS NPA/Sales Ops internal data




                                                                                                                                                                                       13
CONFIDENTIAL                                                                                                                                                                TEV_FE00037957
                                                                                                                                  based on label change and
                                                   Case: 1:17-md-02804-DAP2008i
                                                                           Doc #: 2248 Filed: 08/13/19 15 of 63. PageID #: 349064
                                                                                                   Percent                        3039 Non-approval letter
               Total Expense                                      $1591751000                                r Non-Personal Selling Support
                Advertising Promotional Materials                   5,775,000                       38%
                                                                                                               - Media & journal tactics
                Consultants                                                                          0%
                                                                                                               - E-Marketing initiatives
                Corporate Contributions                                  50,000                      0%
                Field Driven Speaker Programs                         2,700,000                     18%      r Revised Sample Voucher
                Market Research                                       1,100,000                      7%        Program
                Marketing Promotional Programs                                   0                   0%
                                                                                                             r Abuse, Addiction & Diversion
                Medical Education                                     1,800,000                     12%
                Meetings,Conf, Congresses, Conv, Exhibits             1,300,000                      9%
                                                                                                               Speaker Training
                Miscellaneous Operating Expense                               0                      0%      r Managed Care Initiatives
                Public Relations                                      1,000,000                      7%        - Pilot Practice Manager Program
                Reprints                                                 250,000                     2%        & debit card program
                Risk Management*                                               0                     0%
                Samples & Debit Card Program                           1,200,000                     8%      r Increase in PR & Market
                                                                                                               Research spend due to
               t Original 2008 Marketing Budget = 518.5M • shifted $3.4M to Amrix Marketing
               * Assumes Regulatory will cover RMP expenses
                                                                                                               Advisory Comm needs &
                                                                                                               conjoint analysis




                                                                                                                                                                         14
CONFIDENTIAL                                                                                                                                                  TEV_FE00037958
                 cn                               Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 16 of 63. PageID #: 349065
                       2,500 -           PCP
                                    3.4 TRx / Rxer                                                                                             PCP
                      2,000 -                                                                                                             3.0 TRx / Rxer

                       1,500 -

                       1,000




                                                                                                                                                                ONC
                    ONC                I.'    N            N            I.,       A.            N.        00          co            R)        ,R)    R)
                                       5
                                       )      c?           c?          c?        05            S)        1,           5"            tz)              5)    2.1 TRx / Rxer
               2.2 TRx I Rxer        .C
                                      ...    0)           Q.          ...e
                                                                      C.)                                C                                   47     •It
                                             C            0                      0            cfr        e           o             e         Q.
                                    415
                                             cr         0)          0                       e

                          —0—Pain      —D—Onc                        Neuro            —M—PCP                          Other           —o—NP/PA

                                                                                                                                                       inn     vont
                Source: I MS N PA




                                                                                                                                                                                       15
CONFIDENTIAL                                                                                                                                                                1EV_FE00037959
                                                                  Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 17 of 63. PageID #: 349066


                                                                                                                                                   324      11,650


                                                                                                                                                   2,841    15,191



                                                                                                               0.4 PDEsivv,



                                                                                                                          Total                     6,609    38,488


                  Sources:   Details: SFA, Jul 2008: RxersiTRXs: WK Source Presenber Feb-Jul 2008




               We have nice activity from our cores
               What are we doing from a productivity standpoint
               Non targets or FIT's may or may not have been called on but they have Rx'ed
               Ask questions- what's going on?
               I n comparison to June data
               Core- Rx went down slightly and TRxs increased (June was 1252 Rxs with 29,788
               TRxs)
               High Opioid- increased from 89 Rxs and 571 TRx's in June
               Low Actiq- increased to 832 from 777 Rxs and 5148 TRxs from 42,96
               And for non-targets/FIT's increase to 1381 from 1128Rxs and 10,787 TRxs from 7,687




                                                                                                                                                                                 16
CONFIDENTIAL                                                                                                                                                          TEV_FE00037960
                      35%                             Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 18 of 63. PageID #: 349067


                      30%

                      25%

                      20%

                      15%

                      10% -

                       5% -

                       0%
                                       P A Required              PRD Not Covered                        DUR Reject (Step Edit          Plan Limitations Exceeded
                                                                        F E NTO RA DActiq sOTFC


                                                                                                                                                         URA
                                                                                                                                                         txgrattoet
               Source VVK April & May data months




                                                                                                                                                                                 17
CONFIDENTIAL                                                                                                                                                          TEV_FE00037961
                   Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 19 of 63. PageID #: 349068




               Challenges, Unknowns & Key
                      Assurnptions


                                                 TOR-
                                fentanyl buccaltablet g




                                                                                                               18
CONFIDENTIAL                                                                                        TEV_FE00037962
                  — Onsolis(BEMA fentanyl — 1H09)
                                 Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 20 of 63. PageID #: 349069


               • Lack of differentiation/inferiority to current ROOs
               • Reimbursement hurdles
               • Limited resources
                  — SF size vs Meda
                  — Promotional spend
               • Concerns for abuse, misuse & diversion




                                                                                                                             19
CONFIDENTIAL                                                                                                      TEV_FE00037963
                                                                            Case: 1:17-md-02804-DAP
                                                 Potential Registry — other ROOs          Risk      Doc #: 2248 Filed: 08/13/19
                                                                                                      1 H09?                 Med21 of 63. PageID VH
                                                                                                                                                 #: 349070
                                                                                                                                                             NI   t   I 'I'
                                                 Increase in Sales Resource                  Oppt           1Q09              High              High
                                                                                                                                                              T        NI,

                                                 Expanded Label                              Oppt           1Q10              High               VH
                                                                                                                                                              i        T
                                                New administration,                 Oppt                  2Q09
                                                                                                             ,
                                                titration & dosing options(sublingual &
                                                high dose)
                                                                                                           3Q09
                                                                                                                              High              High
                                                                                                                                                              I        T
                                                Additional Market Noise for BTP              Oppt           1H09              High              Low
                                                                                                                                                              T        T




        Strategic                                                          Operations                                                  Compliance                                      Financial/Reporting
Stakeholders                                             People                                                                  Governance                                   Market
   9    Shareholder                                         > Culture/Leader Behaviors                                                 9 Board Performance                       9 Interest Rate
   9    Business Partner                                    A Recruiting & Retention                                                   > Tone at the Top                         9 Foreign Currency
   >    Customer                                            > Development & Performance                                                9 Corporate Monitoring                    9 Commodity
   9    Vendor                                              > Health & Safety                                                          9 Corporate Social Responsibility         9 Derivatives
   9    Health Care Providers                            Research                                                                Code of Conduct                              Liquidity & Credit
 Market Dynamics                                               >       Clinical Trials/cGCP                                            9       Ethics                            >     Cash Management
   >    Competition                                            9       Phase IV Studies                                                9       Fraud                             9     Funding
   >    Economic Factors                                       >       Toxicology/cGLP                                           Legal & Regulatory                              9     Hedging
   >    Demographics                                           >       Development/cGMP                                                9       Trade/Customs                     9     Credit & Collectibles
   9    Globalization                                          9       Medical affairs/cGCP                                            9       Employment Issues                 9     Insurance
   >    Brand Protection                                       A       Animal Rights                                                   9       Securities                     Accounting & Reporting
   9    Gray Markets                                     Global Supply Chain                                                           9       Environment                       9     Reporting & Disclosure
   >    Government Price Controls/Parallel Trade               9       Sourcing                                                        9       Privacy                           >     Internal Control/SO 404/302
   >    Medicare/Medicaid                                      9       Production & Manufacturing(cGMP)                                >      Pharmacovigilance                  >     Tax
Planning & Resource Allocations                                9       Product Availability                                            9       Contract                          9     Transfer Pricing
   9    Organizational Structure                               9       Supply Chain & Logistics                                        9       Liability                      Capital Structure
   9    Strategic Planning                                     9       Distribution                                                    9      Healthcare                         9     Debt
   9    Customer-Centered Product Flow                         9      Regulatory Conformance and Change                                9      FDA/USDA/EMEA                      9     Equity
   >    Lifecycle Portfolio Assessment                   Sales & Marketing                                                                                                       9     M&A
   >    Annual Budgeting                                       9       Commercialization                                                                                         >     Pension Funds
   9    Research Investment                                    9       Marketing & Advertising                                                                                   9     Stock Options
   >    Forecasting                                            9       Licensing & Royalties
   >    IT Infrastructure/Capability                           9       Product Sales & Pricing
   9    Charitable Giving/Philanthropic Activities             9       Customer Support
Communications                                           Business Continuity
   >   Employees                                               >      Plant Security & Alternative Sourcing
   9   Media                                                   9      IT Security/Access/Backup
   9   Public Relations                                        >      Research Stability
   >   Investors                                               9      Product Integrity
   9   Records Retention
                                                                                                                                                                                                                     20
CONFIDENTIAL                                                                                                                                                                                      TEV FE00037964
                                                      4           - Registry kick-off :I transition period
                                            Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 22 of 63. PageID #: 349071


                                                                                                                      Registry me rics analysis
                                                                                                                                   Registry GO LIVE



                                      *Submit High bose                                       +High Dose Approval



               .A,.Submissions                                                                               Submit sNDA Response &
                                                                                                                 Negotiate
               + Approvals
                   Ongoing Process&
                     4Q'08                1Q'09                                 2Q'09                                   3Q'09       4Q'O9/1jII -




                                                                                                                                                                 21
CONFIDENTIAL                                                                                                                                          TEV_FE00037965
                                     60 —> 110 PCS Representatives — January
                                 Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 23 of 63. PageID #: 349072

               Sales Force Expansion . Create attractive IC plan
                                                          New competitors 1H09:
                     Competition                          • Onsolis
                                                          • 3rd OTFC
                                                          • Sublingual administration secured (1H09)
                                                          • High dose secured (1H09)
                 Regulatory Actions                       • Expanded label negotiations(4Q09)




                                                                                                                             22
CONFIDENTIAL                                                                                                      TEV_FE00037966
                        Assessment
               Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 24 of 63. PageID #: 349073




                                             TOR-
                            fentanyl buccaltablet g




                                                                                                           23
CONFIDENTIAL                                                                                    TEV_FE00037967
               Spontaneous postmarketing reportsa                                                                   14%
                                                  Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 25 of 63. PageID #: 349074
                                                                                                                                      86%
                                                                                                                 (208/1497)        (1289/1497)

               IMS prescription claims databaseb                                                                          23%          77%

               Verispan with IMS methodologyb                                                                              25%         75%
                                                                                                                       N o pain      Any pain
                                                                                                                       product       product
               Verispan VOCON concurrency analysisb                                                                       41%         59%

               a Cumulative through Dec 31, 2007(n = 1989).
               b 2007.




                                                                                                                                                            24
CONFIDENTIAL                                                                                                                                     TEV_FE00037968
                                Marketing)                Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 26 of 63. PageID #: 349075

                        — External:
                            • Advisors are invaluable
                            • Periodic meetings with participating physicians                                                              Patient
                                                                                                                                           Access
                                                                                                                 Clinical
                                                                                                                                                     Monitoring
                   • Design:                                                                                     Expertise
                        — Effective & efficient process to ensure patient
                          access
                            • Simple to understand & follow enrollment
                               process
                            • Ability to provide reimbursement support
                        — Processes must protect patient privacy
                        — Ability to utilize the data for both safety & other
                          medically relevant metrics

               Excerpts from 2007 presentation Boston Bio Conference: Global Registries: The Genzyme Experience




                                                                                                                                                                             25
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                                         Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 27 of 63. PageID #: 349076


                                Market Situation Overview:
                                  Competitive Analysis




         Let's know take a look at our competitive climate and what are some of the products that will
         be coming out soon.




                                                                                                                                     26
CONFIDENTIAL                                                                                                              TEV_FE00037970
                         Absolute Bioavailability                                           65%                                                         70%
                                                                    Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 28 of 63. PageID #: 349077

                         Dosage                                                     100 - 800 mcg

                         Safety                                                       Comparable                                                     Comparable

                         Mucosa! Irritation                                                 Low

                         Taste                                                     "Baking soda"

                                                                                                                                                     Total: 465
                                                                                      110 PCS                                        PCP: 88
                         Sales Force Size                                                                                            Specialty:
                                                                                   2 product calls                                        a3r position expected
                                                                                                                                     Primary    r7
                                                                                                                                                       exPet

                         Targets                                         Registry participants -6000                                 Potentially 30K skilled opiciid prescribers

                                                                                                                                                                         .
               Source: BioDelivery Science International April 25, 2007; Press release Onsolis TM Fentanyl Demonstrates Substantial Transmucosal Delivery in bs   iiVI         A
               Bioavai lability Study; Press release May 14,2007 BIDS1 Announces Positive Key Secondary Endpoint Results for OnsolisTM Fentanyl; Press release Defreipliiebuttaitabsot g
               17,2007 Endo Announces Positive Results From Interim Analysis of RAPINYL TIA Phase III Clinical Trial; Lennernaes Bet al. Br J Clin Pharm. 2005;59( 249-
               253. Abstral Swedish PI July 2008.




                                                                                                                                                                                                      27
CONFIDENTIAL                                                                                                                                                                               TEV_FE00037971
               • Active clinical program                                           • Eroded relationships with HCPs
                                      Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 29 of 63. PageID #: 349078

               • Patent to 2019                                                    • Highest dose only 800 mcg
                                                                                   • Fast onset perceived as a safety concern


               Opportunities                                             Threats
               • Increased noise by new market entries                  • Limited BTP and ROO awareness
                 will raise awareness of BTP
                                                                        • Miscommunication between HCPs and
               • CNCA Treatment guidelines in                             patients regarding BTP
                 development by APS/AAPM
                                                                        • Increasing MOO hurdles on premium
               • Increasing patient population                            priced products
                      • Aging                                           • Shrinking ROO market
                      • Increasing cancer survival rates                • New competitors: 3rd OTFC & Onsolis
                                                                        • Safety concerns for abuse and diversion

                                                                                                                          ORA
                                                                                                                           iCCitPDiW 1r




                                                                                                                                                     28
CONFIDENTIAL                                                                                                                              TEV_FE00037972
               Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 30 of 63. PageID #: 349079




                                             TOR-
                            fentanyl buccaltablet g




                                                                                                           29
CONFIDENTIAL                                                                                    TEV_FE00037973
                                      Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 31 of 63. PageID #: 349080



                                                          Assumptions
               • Efficient and effective registry roll out
               • FENTORA prescribing will mostly come from
                  — Registered core prescribers (Deciles 3-10)
                  — Incremental use by other registered prescribers (Deciles 0-2 + high opioid)
               • Potential price increase
               • 110 PCS Representatives
               • $20M Marketing budget




                                                                                                                                  30
CONFIDENTIAL                                                                                                           TEV_FE00037974
               provides to appropriate patients vs. SAOs and
                                                Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 32 of 63. PageID #: 349081
               other ROOs




               There is limited awareness and understanding of
               BTP.in the marketplace. This limited
               understanding often results in non-optimized
               BTP treatment regimens.



               HCPs feel abandoned by Cephalon:
               • HCPs feel Cephalon has shifted liability and
                 accountability to them in the Dear Doctor letter
               • Decline in Sales Force calls




               New branded and generic rapid onset fentanyl
               products differentiated only by their delivery
               systems will increase the level of competition.                                                                     -
                                                                                                                                 .AVolvibtazititgettlf




                                                                                                                                                                    31
CONFIDENTIAL                                                                                                                                             TEV FE00037975
                                             Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 33 of 63. PageID #: 349082

                                                 Key Strategic Imperatives



                        Ensure               Optimize market                                Maintain                          Enhance dosing
                        appropriate use      opportunities                                  reimbursement                     options
                                                                                            access




               Taken from the Business Strategy slide later in this deck, please list in the "Business
               Strategy" field above:


               • Most important indication
               • Key Target Audience
               • Basic Approach to the Marketplace


               Taken from the Strategic Imperatives slide later in this deck, please list each
               I mperative in the fields provided.




                                                                                                                                                          32
CONFIDENTIAL                                                                                                                                   TEV_FE00037976
                                                                                                                                       FENTORA
                             reimbursement          Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 34 of 63. PageID #: 349083




                       • Develop simple step-by-                  • Ensure registry                                          • Continue to educate on the
                         step enrollment educational                ownership in                                               importance of appropriate
                         materials and tools                        a ppropriate cross                                         patient selection in all
                       • Develop an efficient method                functional areas                                           promotional materials and
                         to facilitate reimbursement              • Attractive IC plan to                                      programs
                       • Ensure an efficient method                 support enrollment &                                     • Continue to educate on the
                         to distribute FENTORA                      prescribing                                                safe use of FENTORA in all
                        (retail vs. specialty)                    • Train sales force &                                        promotional materials and
                       • Ensure a method to allow                   internal key                                               programs
                         for non-retail class of trade              stakeholders on                                          • Communicate corporate
                         to have access                             SECURE registry                                            commitment to safety
                                                                                                                             • Develop messaging platform
                                                                                                                               to create awareness &
                                                                                                                               understanding of Registry &
                                                                                                                               its value by key stakeholders




               • Key strategic actions to support the "Strategic Imperatives"


               • Sub strategies can be included when necessary


               • List assumptions key to success of the strategies


               • Describe any Action Plans that you feel senior management must be
                 made aware of




                                                                                                                                     Strategic Objective




        Environmental           SWOT                     Critical
                                                                                                                                            Strategies
           Analysis             Analysis                  Issues




                                                                                                                                                                          33
CONFIDENTIAL                                                                                                                                                   TEV_FE00037977
                                                          loyalty                                                                           ROO class
                       understanding                                                                       channels
                                                   Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 35 of 63. PageID #: 349084




                   • Continue to educate on   • Match competitor personal                           • Create new brand                   • Support development
                     disease awareness          & non-personal SOV                                    identity & messaging                 & execution chronic
                   • Support development &    • Train sales force to address                          campaign                             pain/BTP treatment
                     execution chronic          cornpetition                                        • Increase personal &                  g uidelines
                     pain/BTP treatment       • Increase sales force reach                            non-personal                       • Appropriately
                     g uidelines                & frequency through                                   Marketing tactics                    leverage new clinical
                                                attractive IC plan                                  • Continue to educate                  d ata when available
                                              • Communicate messages                                  on the benefits of                 • Lobby USP for formal
                                                that differentiate FENTORA                            FENTORA and the                      creation of ROO class
                                                from competitors via                                  SECURE program via
                                                personal & non-personal                               PR, publications, etc.
                                                tactics                                             • Appropriately
                                              • Appropriately leverage                                leverage new clinical                         URA
                                                                                                                                                    tx,ccatr aeit
                                                clinical data                                         data when available




               • Key strategic actions to support the "Strategic Imperatives"


               • Sub strategies can be included when necessary


               • List assumptions key to success of the strategies


               • Describe any Action Plans that you feel senior management must be
                 made aware of




                                                                                                                                    Strategic Objective




        Environmental            SWOT                 Critical
                                                                                                                                           Strategies
           Analysis              Analysis              Issues




                                                                                                                                                                               34
CONFIDENTIAL                                                                                                                                                        TEV_FE00037978
                         \/                     Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 36 of 63. PageID #: 349085




                             • Continue to enhance              • Develop PE data to support                                     • Create infrastructure to
                               tools and programs                 utilization                                                      support contracting
                              (Covance & PM)to                  • Include PE data in AMCP                                        • Create process to support
                               provide HCPs with                  dossier & Hospital Formulary                                     contracting
                               assistance on                      Kit
                               reimbursement                    • Support development &
                             • Investigate                        execution chronic pain/BTP
                               establishing ICD 9/10              treatment guidelines
                               code                             • Develop & convey BOI for BTP
                                                                • Utilize new clinical data as
                                                                  appropriate to continue to
                                                                  educate MCOs on BTP and
                                                                  why FENTORA is the optimal
                                                                   treatment




               • Key strategic actions to support the "Strategic Imperatives"


               • Sub strategies can be included when necessary


               • List assumptions key to success of the strategies


               • Describe any Action Plans that you feel senior management must be
                 made aware of




                                                                                                                             Strategic Objective




        Environmental         SWOT                 Critical
                                                                                                                                           Strategies
           Analysis           Analysis              Issues




                                                                                                                                                                          35
CONFIDENTIAL                                                                                                                                                   TEV_FE00037979
                                             administration
                                               Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 37 of 63. PageID #: 349086




                                       • Negotiate for inclusion in                                • Submit package in '09
                                         label separate from                                         to ensure approval of
                                         expanded label, if                                          higher dose(s)(1000
                                         necessary                                                   and/or 1200)


                                                                                      aiNvoos'


                                 • Update communication tools to include new administration, titration &
                                   dosing options
                                 • Ensure sales force is trained to deliver messages on new administration,
                                   titration & dosing options




               • Key strategic actions to support the "Strategic Imperatives"


               • Sub strategies can be included when necessary


               • List assumptions key to success of the strategies


               • Describe any Action Plans that you feel senior management must be
                 made aware of




                                                                                                                            Strategic Objective




        Environmental         SWOT                Critical
                                                                                                                                  Strategies
           Analysis           Analysis             Issues




                                                                                                                                                          36
CONFIDENTIAL                                                                                                                                   TEV_FE00037980
                                         — "Roll Out" transitions to "Go-Live"
               appropriate               Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 38 of 63. PageID #: 349087
                                   —Drive enrollment of HCPs, Patients, Pharmacies
                  use &
                                   —Reinforce enrollee participation
                Registry
                  KSI 1
                              • Responsible Use of Opioids = $2.4M
                                   —Sales Force tools
                                   —Partner w/ patient advocacy & professional organizations on
                                    initiatives to support responsible use of opioids
                                   —Educate patients & HCPs on safe use of opioids (e.g.
                                    managing risk for abuse & diversion, safe storage)
                              • Market Research = $750K
                             rni   —HCP/RPh/Pt Surveys, Concept & message testing, Cl, Pulse
                                    Studies, market surveillance




                                                                                                                                     37
CONFIDENTIAL                                                                                                              TEV_FE00037981
                            M                        maintain HCP top of mind preference for FENTORA
                                                          Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 39 of 63. PageID #: 349088

                Differentiate                      — Non-personal/targeted media
                   from                     • Maintain reimbursement access* = $500K
                competitiok. •                 - Practice Management Programs
                  KSI 2,3,4                        — Debit Card Program
                                            • Optimize dosing options = $2.8M
                                                   — Incorporate new label information in all appropriate materials:
                                                      • New REMS/Registry & sublingual administration option
                                                      • High dose & titration
                                            • Market Research = $600K
                                                   — ATU,secondary reports, Cl, Monthly Market Dynamics,,)
                                                     National Health & Wellness Survey

                                                                                                                                           rtl
                                                                                                                                           fi4OrA1V
               * Additional programs/materials/initiatives in HCS Plan




                                                                                                                                                                 38
CONFIDENTIAL                                                                                                                                          TEV_FE00037982
               r                               o pportunities = $2M
                                                         Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 40 of 63. PageID #: 349089

                Expanded                         — Develop & incorporate new messaging platform:
                  Label                                • Tools for Sales Force
                 KSI 2,3
                                                       • Non-personal/targeted media
                                         • Maintain reimbursement access* = $0M
                               I         • Market Research = $150K
                                           - Concept & message testing




               * Programs/materials/initiatives in HCS Plan




                                                                                                                                                     39
CONFIDENTIAL                                                                                                                              TEV_FE00037983
                110 PCS      • Promotech = $1 .1 M
                                Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 41 of 63. PageID #: 349090


                  Rep           — Sales Force materials storage &
               Logistics &
                Support           fulfillment
                                — Incorporation of new label in/on materials
                                  as needed




                                                                                                                 ENTORA
                                                                                                                   v4buccyt.40irekt




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CONFIDENTIAL                                                                                                                          TEV_FE00037984
                     Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 42 of 63. PageID #: 349091


               2009 Marketing Expense Budget



                                                   TOR-
                                  fentanyl buccaltablet g




                                                                                                                 41
CONFIDENTIAL                                                                                          TEV_FE00037985
                                                  Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 43 of 63. PageID #: 349092

                                                                                                                                       50,000
                                                                                                                                   2,300,000
                                                                                                                                   1 500,000
                                                                                                                                            0
                                                                                                                                   3,000,000
               Meetings, Conf,Congresses,Cony, Exhibits                                                                              600,000
               Miscellaneous Operating Expense                                                                                              0
                                                                                                                                   1 ,100,000
                                                                                                                                     400,000
                                                                                                                                            0
                                                                                                                                   2,200,000

               *Assumes 2009 Expanded Label Launch & SF Expansion
               **Assumes Regulatory & GPE will cover REMS & registry program costs
                                                                                                                                                Stony/AwcaltOM




                                                                                                                                                                            42
CONFIDENTIAL                                                                                                                                                     TEV_FE00037986
               — Personal ($5.2M)
                                Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 44 of 63. PageID #: 349093

                  • All sales collateral
                  • All REMS related materials
                  • Patient education materials
                  • Patient Case Studies
               — Non-personal ($1M)
                  • Targeted media (e.g. Triple i tamper proof pads, ePocrates)
                  • Journal
                  • Direct Mail
               — Web & e-initiatives ($1.3M)
               — Promotech ($1.1M)




                                                                                                                            43
CONFIDENTIAL                                                                                                     TEV_FE00037987
               — Web train speakers on new label
                            Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 45 of 63. PageID #: 349094




               — Advisory Boards (3)for Registry & competition
                 assessment




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CONFIDENTIAL                                                                                                                            TEV_FE00037988
                              °Licher TR)(Ps
                            Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 46 of 63. PageID #: 349095
                    Rep Ordered        Vouchers,                    5810                     5950            11760
                      Redemption           Rate                     44%                      33%              38%
                  4




               Debit Cards($200K)
                                               2008 Debit Card Program
                                             # of Rep Ordered Kits                             1725
                                                       niered Cards                            5175
                                                  of Activation
                                               # of RedemptionS                                  96
                                                 Redemption Rate
                                                     ie                                          65
                                                                    Jtinit;usesI,                25
                                                       •
                                                                    rith 3 uses                                      RA:
                                          Avg Redem •ion Amount                              $36.98                  Taft   r




                                                                                                                                           45
CONFIDENTIAL                                                                                                                    TEV_FE00037989
               Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 47 of 63. PageID #: 349096




                                                                                                           46
CONFIDENTIAL                                                                                    TEV_FE00037990
                  Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 48 of 63. PageID #: 349097


               2009 Contribution Margin



                                                TOR-
                               fentanyl buccaltablet g




                                                                                                              47
CONFIDENTIAL                                                                                       TEV_FE00037991
                        Registry                              Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 49 of 63. PageID #: 349098
                                                                                                                                                   ?
                        Sales*                                                                                                                 $12,800,000
                        Clinical & Regulatory**                                                                                                $3,200,000
                        Phase IV Studies                                                                                                            -
                        Medical Education (SciCom)                                                                                             $5,000,000
                        Publications                                                                                                           $1,000,000
                        ISS/IST                                                                                                                 $500,000
                        Subtotal Expenses                                                                                                         TBD
                        FENTORA Contribution                                                                          TBD
                       % of FENTORA Sales                                                                             TBD
               *Assumes Sales Force Expansion of PCS to 110 reps and shared costs with Amrix
               **Assumes on Clinical Costs/Regulatory & GPE will cover RiskMAP expenses (not included) 1-Gross Margin = Net sales —




                                                                                                                                                                        48
CONFIDENTIAL                                                                                                                                                 TEV_FE00037992
               Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 50 of 63. PageID #: 349099




                                  TOR
                            fentanyl buccaltablet g




                                                                                                           49
CONFIDENTIAL                                                                                    TEV_FE00037993
                    • create print & web based communication    programs toDoc
                                                        Case: 1:17-md-02804-DAP drive
                                                                                  #: 2248 Filed: 08/13/19 51 of 63. PageID #: 349100
                    awareness with HCPs, patients, and pharmacists (non-personal & e)
                   Drive Enrollment into Registry                                                              1Q            $2.8m     Brand Tearn/Palio
                   • create programs & tools for simple HOP, patient, & pharmacist
                   enrollment (CSPs, SciMedica, spkr training)
                   'Communicate updates to HCPs, patients & pharmacists during
                   transition and Go Live periods
                   Reinforce enrollee participation                                                            1Q-4Q         $700k     Brand Team/Palio
                   'Create ongoing personal and non-personal programs to ensure
                   enrollees continue to use FENTORA appropriately




                                                                                                                                                           IRA
                                                                                                                                                           vatate



                 Summary Implementation Plan:
               Use this table to summarize all of the tactical initiatives (as outlined in slides 15-23 of
               this template) that are planned for 2006 sub-totals by Strategic Imperative. When a
               tactic applies across multiple imperatives, list it under the strategic imperative it most
               closely supports.


               This may require several summary pages.




                                                                                                                                                                               50
CONFIDENTIAL                                                                                                                                                        TEV_FE00037994
                    •Implement a method to allow for non-retail   class of trade
                                                         Case: 1:17-md-02804-DAP Doc #:to have
                                                                                        2248 Filed: 08/13/19 52 of 63. PageID #: 349101
                    access
                    Market research to ensure registry system logistics & roll out are                           1Q-4Q          $600k     Market Research
                    working




                    Total Marketing cost for Registry                                                                           $7m




                                                                                                                                                       "rel-)t,i.nfr;




                 Summary Implementation Plan:
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               tactic applies across multiple imperatives, list it under the strategic imperative it most
               closely supports.


               This may require several summary pages.




                                                                                                                                                                                   51
CONFIDENTIAL                                                                                                                                                            TEV_FE00037995
                        • Monitor objective achievements
                                                        Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 53 of 63. PageID #: 349102

                         I mplement an attractive IC plan to support                                                  $0                 Sales Ops
                         enrollment & prescribing

                         Train sales force & internal key stakeholders on                                             $0                 Sales Training/ Registry
                         SECURE registry                                                                                                 Working Team

                         PR efforts (web, media & 3'party outreach) to                                                $675k              Corporate
                          support safe use of FENTORA and opioids via                                                                    Communications
                               —Partnering wi patient advocacy &
                                professional organizations initiatives
                               —Educating patients & HCPs on
                                understanding & managing risk for abuse &
                               diversion, safe storage


                         Total Marketing cost to Leverage                                                             $675,000
                          Registry
                                                                                                                                                              t,




                 Summary Implementation Plan:
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               this template) that are planned for 2006 sub-totals by Strategic Imperative. When a
               tactic applies across multiple imperatives, list it under the strategic imperative it most
               closely supports.


               This may require several summary pages.




                                                                                                                                                                               52
CONFIDENTIAL                                                                                                                                                        TEV_FE00037996
                                               Case:
               • Train sales force & internal key    1:17-md-02804-DAPon
                                                  stakeholders         Doc #: 2248 Filed: 08/13/19 54 of 63. PageID #: 349103

                  SECURE registry
                                                                                                           ..
               I mplement an attractive IC plan to support                                                    $0                Sales Ops
               enrollment & prescribing

               Provide sales force with tools to continue to educate                                           $700k            Brand Team
                on appropriate patient selection and safe use of
                opioids and FENTORA (AAD CSPs)



               Total Marketing cost ensure safe use of                                                         $700,000
                opioids & FENTORA




                                                                                                                                             kvtialtkia.




                                                                                                                                                                      53
CONFIDENTIAL                                                                                                                                               TEV_FE00037997
                                                                                                                                                             1
                                                   Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 55 of 63. PageID #: 349104


                      Strategy: Maintain customer loyalty

                         Tactic                                                      Timing                    Cost                 Responsible
                         I ncrease call reach & frequency w/                         1Q/4Q                    $0                    Sales/Sales Ops
                         expanded PCS Sales Force (110) through
                         IC plan
                         Vouchers                                                    10/40                    $900K                 Brand Team

                         I mplement Publication Plan                                 10/40                    $0                    SciCom

                         Train PCS on how to address new                             1Q                       $0                    Sales Ttraining
                         competition
                         N urse Advisory Board to obtain insights on                 2Q                       $100K                 PR
                         educational/ other unmet needs                                                                                               cl   , ‘




               * Summary Implementation Plan:
               Use this table to summarize all of the tactical initiatives (as outlined in slides 15-23 of
               this template) that are planned for 2006 sub-totals by Strategic Imperative. When a
               tactic applies across multiple imperatives, list it under the strategic imperative it most
               closely supports.


               This may require several summary pages.




                                                                                                                                                                            54
CONFIDENTIAL                                                                                                                                                     TEV_FE00037998
                         Sales Force to maintain HCP
                                                  Case: top   of mindDoc #: 2248 Filed: 08/13/19 56 of 63. PageID #: 349105
                                                        1:17-md-02804-DAP

                         preference for FENTORA
                                                                                                                                                   _
                         Reprints: Fees & production                                      1Q/40               $325K           Brand Team

                         Targeted media: ePocrates , Catalina                             10140               $850K           Brand Team
                         Newsletter, PDR, PDR Pain Prescribing
                         Guide
                         VVebsite initiatives: maintain site & update                     1Q/40               $350K           Brand Team
                         with new content to drive HCP & patient hits
                         eDetails                                                         1Q/20               $215K           Brand Team
                         Journal advertising in select journals,                          1Q/40               $600            Brand team
                         targeted reach
                         Conventions: Booth presence to distribute                                            $600            Brand Team
                         educational product information at key Pain
                         professional meeting (space, fees, shipping,                                                                 I cni ..     I
                                                                                                                                       leall/ LN       t
                         other logistics




               * Summary Implementation Plan:
               Use this table to summarize all of the tactical initiatives (as outlined in slides 15-23 of
               this template) that are planned for 2006 sub-totals by Strategic Imperative. When a
               tactic applies across multiple imperatives, list it under the strategic imperative it most
               closely supports.


               This may require several summary pages.




                                                                                                                                                                      55
CONFIDENTIAL                                                                                                                                               TEV_FE00037999
                         educate HCPs & patients Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 57 of 63. PageID #: 349106
                         Market Research: ATU, Cl, secondary                                10/40                $300.5K          Market Research
                         reports, monthly dynamics, National Health
                         & Wellness Survey




                 Summary Implementation Plan:
               Use this table to summarize all of the tactical initiatives (as outlined in slides 15-23 of
               this template) that are planned for 2006 sub-totals by Strategic Imperative. When a
               tactic applies across multiple imperatives, list it under the strategic imperative it most
               closely supports.


               This may require several summary pages.




                                                                                                                                                               56
CONFIDENTIAL                                                                                                                                        TEV_FE00038000
                         materials
                                                    Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 58 of 63. PageID #: 349107

                         Production cost of tools/materials as                         /4Q                       $600K               Brand Team
                         appropriate
                                                                                                                                                            _
                        CSP:                                                                                     $600K               Brand Team/CCX
                        • Content development
                        • Speaker training

                         M arket Research: Test concepts &                             2Q/40                     $125K               Market Research
                         messaging
                         PR: Manage regulatory milestones                                                        $185K               PR




                                                                                                                                               kftallWit*




               * Summary Implementation Plan:
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               this template) that are planned for 2006 sub-totals by Strategic Imperative. When a
               tactic applies across multiple imperatives, list it under the strategic imperative it most
               closely supports.


               This may require several summary pages.




                                                                                                                                                                           57
CONFIDENTIAL                                                                                                                                                    TEV_FE00038001
                         Appropriately leverage new  clinical data                    10/4Q                      $0
                                                  Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 59 of 63. PageID #: 349108
                                                                                                                                   Mkting/Gov Affairs
                         when available
                         Lobby USP for formal creation of ROO                                 3Q                   $0              Gov Affairs
                         class




                 Summary Implementation Plan:
               Use this table to summarize all of the tactical initiatives (as outlined in slides 15-23 of
               this template) that are planned for 2006 sub-totals by Strategic Imperative. When a
               tactic applies across multiple imperatives, list it under the strategic imperative it most
               closely supports.


               This may require several summary pages.




                                                                                                                                                                   58
CONFIDENTIAL                                                                                                                                            TEV_FE00038002
                                                   Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 60 of 63. PageID #: 349109
                         Formulary Kit                                                 2Q                        $0                 HCS

                         Debit Card Program                                             1Q/4Q                    $300K              Brand team

                     Strategy: Secure optimal Formulary status

                         Tactic                                                       Timing                     Cost               Responsible
                         Conduct PE study; utilize data to support                    1Q/4Q                     $0                  HCS/Clinical/Med
                         utilization                                                                                                Affairs/SciCom
                         U pdate AMCP Dossier to include PE & new                     1Q/40                     $0                  HCS/Med Affairs
                         clinical data
                         Support independent third party                              1Q/40                     $75K                Med
                         development & execution chronic pain/BTP                                                                   Affairs/HCS/Brand
                         treatment guidelines; disseminate                                                                          Team
                         appropriately
                                                                                                                                                        I
                                                                                                                                                        I
                         Develop & convey BOI for BTP                                 1Q/40                     $0                  HCS/Med Affairs




                 Summary Implementation Plan:
               Use this table to summarize all of the tactical initiatives (as outlined in slides 15-23 of
               this template) that are planned for 2006 sub-totals by Strategic Imperative. When a
               tactic applies across multiple imperatives, list it under the strategic imperative it most
               closely supports.


               This may require several summary pages.




                                                                                                                                                                       59
CONFIDENTIAL                                                                                                                                                TEV_FE00038003
                         Create process to support contracting                         1Q                       $0                 HCS
                                                  Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 61 of 63. PageID #: 349110


                         Train NAMs:                                                   1Q/2Q                    $0                 HCS
                         *Negotiation skills
                         •Cephalon contracting process




                 Summary Implementation Plan:
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               this template) that are planned for 2006 sub-totals by Strategic Imperative. When a
               tactic applies across multiple imperatives, list it under the strategic imperative it most
               closely supports.


               This may require several summary pages.




                                                                                                                                                    60
CONFIDENTIAL                                                                                                                             TEV_FE00038004
                         supplement for high dose(s)
                                                  Case: 1:17-md-02804-DAP Doc #: 2248 Filed: 08/13/19 62 of 63. PageID #: 349111


                         U pdate Sales Force communication tools to                          2Q                   $500K            Brand Team & Palio
                         include new administration, titration &
                         dosing options (2x pending approvals)
                         Non-personal tactics to communicate new                             2Q                   $325K            Brand Team & Palio
                         sublingual administration option (creation,
                         production, distribution, program fees)




                 Summary Implementation Plan:
               Use this table to summarize all of the tactical initiatives (as outlined in slides 15-23 of
               this template) that are planned for 2006 sub-totals by Strategic Imperative. When a
               tactic applies across multiple imperatives, list it under the strategic imperative it most
               closely supports.


               This may require several summary pages.




                                                                                                                                                                   61
CONFIDENTIAL                                                                                                                                            TEV_FE00038005
                         U pdate CSP deck & web-train       the speakers
                                                     Case: 1:17-md-02804-DAP Doc #: 22482Q
                                                                                         Filed:& 3Q 63 of 63. PageID
                                                                                               08/13/19       $300K  #: 349112   Brand Team & CCX
                         on new dosing, titration & administration
                         options (2x pending approvals)
                         Develop training materials/tools & train                          2Q                   $0               Sales Training
                         sales force to deliver messages on new
                         administration, titration & dosing options




                 Summary Implementation Plan:
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               this template) that are planned for 2006 sub-totals by Strategic Imperative. When a
               tactic applies across multiple imperatives, list it under the strategic imperative it most
               closely supports.


               This may require several summary pages.




                                                                                                                                                               62
CONFIDENTIAL                                                                                                                                        TEV_FE00038006
